 Case: 0:15-cv-00046-DLB-EBA              Doc #: 29 Filed: 07/10/17           Page: 1 of 2 - Page
                                             ID#: 139




                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF KENTUCKY
                                ASHLAND DIVISION

 DAVID ERMOLD, et al.,                            :   CIVIL ACTION
                                                  :
                 Plaintiffs,                      :   0:15-CV-00046-DLB
                                                  :
         v.                                       :   DISTRICT JUDGE
                                                  :   DAVID L. BUNNING
 KIM DAVIS,                                       :
                                                  :
                 Defendant.                       :


                      MOTION TO DISMISS AMENDED COMPLAINT

       Defendant Kim Davis (“Davis”), pursuant to Federal Rule of Civil Procedure 12 and Local

Rule 7.1, moves the Court for an order dismissing Plaintiffs’ Amended Complaint (Doc. 27).

       As more fully described in Davis’ supporting memorandum of law, which is incorporated

by reference here, Plaintiffs’ Complaint against Davis should be dismissed for multiple reasons.

First, Davis is immune from Plaintiffs’ damages claims—by Eleventh Amendment sovereign

immunity in her official capacity as a state official, and by qualified immunity in her individual

capacity. Second, Plaintiffs’ claims present no cognizable federal constitutional question.

Specifically, Plaintiffs have failed to identify any federal constitutional right to receive a marriage

license from a particular state official (Davis) at a particular place (Rowan County), when no policy

ever prevented either Plaintiff from marrying whom he wanted to marry, or obtaining a valid

Kentucky marriage license.

       WHEREFORE, Defendant, Kim Davis, respectfully requests that the Court enter an order

granting her Motion to Dismiss Amended Complaint, dismiss Plaintiffs’ Amended Complaint with

prejudice, and enter judgment in favor of Davis.
 Case: 0:15-cv-00046-DLB-EBA             Doc #: 29 Filed: 07/10/17            Page: 2 of 2 - Page
                                            ID#: 140




                                                   Respectfully submitted,

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                                                   Attorneys for Defendant Kim Davis




                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was filed via the Court’s ECF

filing system and therefore service will be effectuated by the Court’s electronic notification system

upon all counsel or parties of record:

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 DATED this July 10, 2017                            /s/ Roger K. Gannam
                                                     Roger K. Gannam
                                                     Attorney for Defendant Kim Davis




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